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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                  EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
              v.                               )     CR. NO.     3:19-cr-00364-ECM-WC
                                               )
NAYEF AMJAD QASHOU,                            )

                   GOVERNMENT'S AMENDED MOTION FOR DETENTION

       Comes now the United States of America, by and through Louis V. Franklin, Sr., United

States Attorney for the Middle District of Alabama, and pursuant to 18 U.S.C. ' 3142(e) and (f)

moves for detention of the above-captioned defendant.

1.     Eligibility of Cases

       This case is eligible for a detention order because this case involves:

                      10 + year crime of violence (18 U.S.C. ' 3156)

                      10 + year federal crime of terrorism (18 U.S.C. ' 2332b(g)(5)(B))

                      Maximum sentence of life imprisonment or death

                      10 + year drug offense

                      Felony, with at least two prior convictions in the above categories

                      Felony involving a minor victim

                      Felony involving possession or use of a firearm or other destructive device

                      (as defined by 18 U.S.C. ' 921) or any other dangerous weapon

                      Failure to register as a sex offender (18 U.S.C. ' 2250)

         X            Serious risk the defendant will flee

         X            Serious risk of obstruction of justice


2.     Reason for Detention
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       The Court should detain defendant because there are no conditions of release which will

reasonably assure:

           X          Defendant’s appearance as required.   See Section 5 below.

           X          Safety of any other person and the community

3.     Rebuttable Presumption

       The United States will invoke the rebuttable presumption against defendant under Section

3142(e).

                      Previous conviction for "eligible" offense committed while on pretrial
                      bond, and a period of five years has not elapsed from defendant's
                      conviction or release from imprisonment for the offense described

                      Probable cause to believe defendant committed 10 + year drug offense
                      or probable cause to believe that defendant committed a crime in which a
                      firearm was used or carried under Section 924(c)

                      Probable cause to believe defendant conspired to kill, kidnap, maim, or
                      injure persons in a foreign country as prohibited under 18 U.S.C. ' 956(a)

                      Probable cause to believe defendant committed act of terrorism
                      transcending national boundaries (18 U.S.C. ' 2332) or a 10 + year federal
                      crime of terrorism as defined in 18 U.S.C. ' 2332b(g)(5)(B)

                      Probable cause to believe defendant committed 10 + year offense
                      involving a minor victim

4.     Time for Detention Hearing

       The United States requests the Court conduct the detention hearing:

           _          At the initial appearance

           X _        After continuance of 3         days

       The Government also requests leave of court to file a supplemental motion with additional

grounds or presumption for detention should this be necessary.




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Respectfully submitted this the 18th day of September, 2019.



                                    LOUIS V. FRANKLIN, SR.,
                                    UNITED STATES ATTORNEY

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